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6    Attorneys for Plaintiffs
7                                UNITED STATES DISTRICT COURT
8
                                          DISTRICT OF NEVADA
9
     CHRISTINA HASTY, individually,                       )     Case No.: 2:19-cv-1513
10
     CHARLES HASTY, individually,                         )
11                                                        )
                            Plaintiffs,                   )    STIPULATION AND ORDER TO
12   vs.                                                  )      EXTEND TIME TO OPPOSE
                                                          )     DEFENDANT’S MOTION FOR
13
     JAMES JAY SMITH, individually, JOHN                  )     SUMMARY JUDGMENT, AND
     DOE BICYCLIST, KEOLIS TRANSIT                        )       MOTION FOR SUMMARY
14
     SERVICES, LLC, a Foreign Limited-                    )   JUDGMENT RE CHARLES HASTY
15   Liability Company, MV                                )
     TRANSPORTATION, INC., a Foreign                      )
16
     Corporation, ROE BUS TRANSIT                         )
17   COMPANY, ROE BUS COMPANY; JOHN                       )
     DOE BUS DRIVER; DOES I through X,                    )
18   inclusive; ROE CORPORATIONS XI                       )
     through XX, inclusive,                               )
19
                                                          )
20                          Defendants.                   )

21
            IT IS HEREBY STIPULATED BETWEEN Plaintiffs, CHRISTINA HASTY and
22
     CHARLEST HASTY, and Defendant, KEOLIS TRANSIT SERVICES, LLC by and through
23
     their respective counsel of record, all parties hereby stipulate and agree to extend time for
24
     ///
25
     ///
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     ///
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1    Plaintiffs to oppose Defendant’s Motion for Summary Judgment and Defendant’s Motion for
2    Summary Judgment re Charles Hasty. The new deadline for the oppositions will be November
3    13, 2020.
4    DATED this 6th day of November, 2020.           DATED this 6th day of November, 2020.
5
     HICKS & BRASIER, PLLC                           WILSON ELSER MOSKOWITZ
6                                                    EDELMAN & DICKER LLP

7    By: __/s/ Steven M. Rogers____                  By: /s/ Jonathan C. Pattillo_____
8
     STEVEN M. ROGERS, ESQ.                          MICHAEL P. LOWRY, ESQ.
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                                                     Las Vegas, NV 89119
                                                     Attorneys for Keolis Transit Services, LLC
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13
                                             ORDER
14
            IT IS HEREBY ORDERED ADJUDGED AND DECREED that the parties’ request in
15
     the above-entitled action to extend time for Plaintiffs to oppose Defendant’s Motion for
16
     Summary Judgment and Motion for Summary Judgment re Charles Hasty. The new deadline
17
     for the opposition will be November 13, 2020, is hereby GRANTED.
18
                                   6 day of November, 2020.
            IT IS SO ORDERED this ___
19

20

21
     Submitted by:                              _________________________________
22
     HICKS & BRASIER, PLLC                      Gloria M. Navarro, District Judge
                                                UNITED STATES DISTRICT COURT
23
     ___/s/ Steven M. Rogers ___
24
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